  Case 4:22-cv-01781 Document 38 Filed on 10/18/23 in TXSD Page 1 of 11
                                                                United States District Court
                                                                  Southern District of Texas

                                                                     ENTERED
                                                                   October 19, 2023
                IN THE UNITED STATES DISTRICT COURT               Nathan Ochsner, Clerk
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION



CORNELL L. GALENTINE and SALLIE §
GALENTINE,                      §
                                 §
                Plaintiffs,      §
                                 §
v.                               §
                                 §         CIVIL ACTION NO. H-22-1781
U.S. BANK, NATIONAL ASSOCIATION, §
AS TRUSTEE FOR SECURED ASSET     §
SECURITIES CORPORATION MORTGAGE §
LOAN TRUST 2007-RFI, and WELLS §
FARGO BANK, N.A.,                §
                                 §
                Defendants.      §


                    MEMORANDUM OPINION AND ORDER


     Cornell L. and Sallie Galentine        ("Plaintiffs") filed this

action against U.S. Bank, National Association         (as trustee for

Secured Asset Securities Corporation Mortgage Loan Trust 2007-RFI)

and Wells Fargo Bank, N.A. ("Defendants"). 1      Plaintiffs purchased

real property using a loan later bought and serviced by Defendants.

After Defendants scheduled a foreclosure sale, Plaintiffs brought

this action to challenge Defendants' ownership of the Deed of Trust

and alleged   common law fraud.        Pending   before the    court       is

Defendants' Motion for Judgment on the Pleadings and Brief in


     1
      Plaintiff's Original Verified Petition and Application for
Temporary Restraining Order and Temporary Injunction ("Complaint"),
Exhibit D-1 to Notice of Removal, Docket Entry No. 1-4, p. 4. For
purposes of identification all page numbers reference the
pagination imprinted at the top of the page by the court's
Electronic Case Filing ("ECF") system.
  Case 4:22-cv-01781 Document 38 Filed on 10/18/23 in TXSD Page 2 of 11




Support ("Defendants' MJP") (Docket Entry No. 34). For the reasons

explained below, Defendants' MJP will be granted, and this action

will be dismissed without prejudice.


                            I.   Background

     Plaintiffs purchased real property located at 16442 Sylvan

Dale Drive, Humble, Texas 77346 ("the Property"). 2       They took out

a loan from North American Real Estate Services, Inc., secured by

a Deed of Trust to the Property. 3         "[T] he Deed of Trust was

assigned to another mortgagee,       US Bank,   and the servicer was

transferred to Wells Fargo. " 4     But Plaintiffs allege that "the

original Deed of Trust was not assigned properly."5

     "Plaintiffs fell delinquent on the note around three years ago

because of personal hardship from their health issues and then

subsequent[] loss of employment during the coronavirus pandemic."6

"Plaintiffs attempted to mitigate the delinquency around January

2022 and [were] told by Defendants' agent that a loan modification

was an option and to fill out the application for loss mitigation.

Plaintiffs applied for loss mitigation but Plaintiffs were not

offered any relief other than a deed in lieu of foreclosure, but

     2
         Id. at 6 <JI 10.
     3
         Id. <JI 11.
     4
         Id. <JI 12.
     5
         Id.
     6
         Id. at 7 <JI 13.
                                  -2-
  Case 4:22-cv-01781 Document 38 Filed on 10/18/23 in TXSD Page 3 of 11




Plaintiffs were invited to re-apply or appeal if Plaintiffs'
circumstances changed.             By then Plaintiff Cornell L. Galentine had
obtained         new     employment   and    made   more       money,     so   Plaintiffs
re[]-applied.             However, when they attempted to re-apply shortly
after being denied, a different agent told the Plaintiffs that
Defendants were not even going to consider the application because
the loan was in delinquency for over 3 years." 7
       Plaintiffs brought this action in the District Court of
Harris County, Texas, on May 1, 2022. 8               Plaintiffs seek declaratory
judgments on several issues relating to Defendants' ability to
foreclose.         Plaintiffs allege that "Defendants made, presented, or
used       the    assignment      associated      with    the    mortgage      loan   with
knowledge that the documents or other records are fraudulent court
records or fraudulent liens or claims against the real property." 9
Plaintiffs further allege that "Defendants falsely and fraudulently
prepared documents required for Defendants to foreclose as a
calculated          and    fraudulent      business      practice. 1110        Plainti
therefore seek "a determination that Defendants are liable for
having        failed       to   properly     record      all     [assignments],"         "a
determination that the power of sale in the Deed of Trust has no
force and effect at this time as to Defendants," "a determination

       7
           Id. <j[ 14.
       8
                 at 4.
                 at 7 <j[ 17.
                 at 7-8 en: 17.
                                            -3-
  Case 4:22-cv-01781 Document 38 Filed on 10/18/23 in TXSD Page 4 of 11




that       because         Defendants       do    not    have    standing      to     initiate
foreclosure of the property, that any and all notices sen[t] by
Defendants regarding default or foreclosure be declared invalid,"
and "a declaratory judgment for quiet title." 11
       Plaintiffs            also      allege      a     common       law     fraud       claim.
"Specifically, Defendants committed fraud by telling Plaintiffs
that       they      had    an   option      of    filling      out    a    loss    mitigation
application, letting them fill one out, denying them any relief
other than a deed in lieu of foreclosure . . . and then invit[ing]
Plaintiff [s]          to re-apply.                . When Plaintiffs attempted to
re-apply just months after being denied and invited to re-apply

           [Plaintiffs] were told [that] Defendants would not offer any
loss mitigation because the                       loan    was    3 years      delinquent." 12
Plaintiffs seek damages and injunctive relief including prevention
of foreclosure. 13
       Defendants removed the action to this court on June 1, 2022. 14
Although           Defendants       filed    their       MJP    on    September      7,    2023,
Plaintiffs have not responded to it. 15                           Defendants argue that
Plaintiffs' requests for declaratory judgment should be dismissed
and that Plaintiffs have not adequately pleaded a fraud claim.


       11
               Id. at 8 <JI<[ 19-22.
       12
                   at 9 CJ[ 25 (emphasis in original).
       13
                   at 10-12.
       1
           4   Notice of Removal, Docket Entry No. 1.
      Defendants' MJP, Docket Entry No. 34; Notice of Non-Filing,
       15

Docket Entry No. 35.
                                                  -4-
  Case 4:22-cv-01781 Document 38 Filed on 10/18/23 in TXSD Page 5 of 11




                              II.   Legal Standard

        Pursuant to Local Rules 7.3 and 7.4, because Plaintiffs have

not responded to Defendants' MJP within 21 days, the motion is

treated as unopposed.16         Failure to oppose the motion is not in

itself grounds        for    granting    the motion,   however.   Servicios

Azucareros de Venezuela, C.A. v. John Deere Thibodeaux, Inc., 702

F.3d 794, 806 (5th Cir. 2012).            The court must assess the motion

and pleadings to determine whether judgment on the pleadings is

warranted.        See
                  ----id.

        Under Federal Rule of Civil Procedure B(a), a "pleading that

states a claim for relief must contain .               . a short and plain

statement of the claim showing that the pleader is entitled to

relief." Fed. R. Civ. P. 8 (a) (2). "To survive a motion to dismiss

[under this pleading standard], a complaint must contain sufficient

factual matter, accepted as true, to 'state a claim to relief that

is plausible on its face."'             Ashcroft v. Igbal, 129 S. Ct. 1937,

1949 (2009) (quoting Bell Atlantic Corp. v. Twombly, 127 S. Ct.

1955,        1974 (2007)).    "The standards for deciding motions under

[Rule 12 (b) ( 6) and Rule 12 (c)] are the same."        Great Plains Trust

Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 313 n.8 (5th

Cir. 2002).



      See Local Rules of the United States District Court for the
        16

Southern District of Texas:   Rule 7.3 ("Opposed motions will be
submitted to the judge 21 days from filing without notice from the
clerk and without appearance by counsel.") and Rule 7.4 ("Failure
to respond to a motion will be taken as a representation of no
opposition.").
                                         -5-
     Case 4:22-cv-01781 Document 38 Filed on 10/18/23 in TXSD Page 6 of 11




       Rule 9(b) imposes a higher pleading standard for allegations

of fraud:     "In alleging fraud or mistake, a party must state with

particularity the circumstances constituting fraud or mistake."

Fed. R. Civ. P. 9(b).         This "demands 'the who, what, when, and

where [to] be laid out.'"      Elson v. Black, 56 F.4th 1002, 1009 (5th

Cir. 2023) (quoting Williams v. WMX Technologies, Inc., 112 F.3d

175, 178 (5th Cir. 1997).      "Plaintiffs must 'specify the statements

contended to be fraudulent, identify the speaker, state when and

where the statements were made, and explain why the statements were

fraudulent.'"      Id.

       "If, on a motion under Rule 12(b)(6) or 12(c), matters outside

the pleadings are presented to and not excluded by the court, the

motion must be treated as one for summary judgment under Rule 56."

Fed. R. Civ. P. 12(d). However, courts may take judicial notice of

matters of public record.        Norris v. Hearst Trust, 500 F.3d 454,

461 n.9 (5th Cir. 2007).


                               III.    Analysis

        Defendants   argue   that     each   of   Plaintiffs'   requests   for

declaratory judgment fail and that Plaintiffs have not adequately

alleged a claim for fraud.


A.     Plaintiffs' Requests for Declaratory Judgment

        Defendants   argue   that     each   of   Plaintiffs'   requests   for

declaratory judgment should be dismissed.


                                       -6-
  Case 4:22-cv-01781 Document 38 Filed on 10/18/23 in TXSD Page 7 of 11




       1.      Defendants' Recording of Assignments

       Plaintiffs seek declaratory judgment "that Defendants are

liable       for   having    failed    to     properly   record     all     releases,

transfers, assignments or other actions relating to instruments

Defendants filed or caused to be filed, registered, or recorded in

the deed of records of Texas." 17              Plaintiffs do not elaborate on

what    documents     were    not     properly      recorded   or    what    specific

recording defects occurred.           To the extent this request is based on

Plaintiffs' allegation of defects in the assignment of the Deed of

Trust, that allegation is conclusory.               The Complaint merely states

that the "alleged[] assignment of the Deed of Trust does not meet

the requirements of a valid assignment." 18              Rule 8, as interpreted

by Twombly and Igbal, requires more than conclusory allegations.

Because       Plaintiffs     have   failed     to   allege     a   specific    defect

rendering       the   assignment      void,    this   request      for   declaratory

judgment will be dismissed.


       2.      Defendants' Power of Sale Under the Deed of Trust

       Plaintiffs seek declaratory judgment "that the power of sale

in the Deed of Trust has no force and effect at this time as to

Defendants because Defendants' actions in processing, handling, and

foreclosing of this loan involved fraudulent, false, deceptive,



     17 Complaint, Exhibit D-1 to Notice of Removal, Docket Entry
No. 1-4, p. 8 � 19.
       18
            Id. at 6 � 12.
                                         -7-
  Case 4:22-cv-01781 Document 38 Filed on 10/18/23 in TXSD Page 8 of 11




and/or     misleading           practices    including,   but   not   limited   to,

violations of Texas laws meant to protect the property records and

property owners and mortgage borrowers." 19               Because this request is

not accompanied by specific factual allegations and therefore fails

to satisfy either the general Rule 8 pleading standard or the

heightened Rule 9(b) pleading standard for allegations of fraud, it

will be dismissed. 20


     3.         Defendants' "Standing" to Foreclose

     Plaintiffs seek declaratory judgment "that because Defendants

do not have standing to initiate foreclosure of the property, that

any and all notices sen [t]                 by Defendants regarding default or

foreclosure be declared invalid." 21                 The only basis the court

perceives for this request is Plaintiffs'                   allegation that the

assignment of the Deed of Trust is invalid.                     But as explained

above, the Complaint does not identify a specific defect in the

assignment.        This request will therefore be dismissed.



     19
          Id.   at 8 ':II 20.

      Defendants argue that the court can dispose of this request
     20

by taking judicial notice of the Deed of Trust and the Deed
Assignment to confirm the Defendants' authority to foreclose.
Because Plaintiffs do not adequately plead their request, the court
need not rely on this argument.       Moreover, if Plaintiffs had
adequately alleged some fraud in the creation of the documents, it
is not clear whether judicial notice of the documents' existence
would resolve the question of fraud.
      Complaint, Exhibit D-1 to Notice of Removal, Docket Entry
     21

No. 1-4, p. 8 ':II 21.
                                             -8-
     Case 4:22-cv-01781 Document 38 Filed on 10/18/23 in TXSD Page 9 of 11




       4.    Quiet Title

        Plaintiffs request "declaratory judgment for quiet title,

thereby voiding all documents on file indicating any interest of

Defendant in the Property pursuant to the Deed of Trust, subsequent

assignment thereof, appointment of substitute trustee documents and

voiding     any interest in the name of Defendants in the Property." 22

"The elements of a quiet-title claim are:               (1) an interest      a

specific property; (2) title to the property is affected by a claim

by the defendant; and (3) the claim, although facially valid,

invalid or unenforceable."              Ocwen Loan Servicing, LLC v. Gonzalez

Financial Holdings, Inc., 77 F.Supp.3d 584, 588 (S.D. Tex. 2015)

(internal           quotation   marks    omitted).     As   explained   above,

Plaintiffs' only allegations attacking Defendants' rights under the

Deed of Trust and its assignment are conclusory.                   Plaintiffs

identi       no specific defect or fraud in connection with those

documents.           Plaintiffs'   request for a declaratory judgment for

quiet       le will therefore be dismissed.


B.      Plaintiffs' Claim for Common Law Fraud

        Plaintiffs allege a claim for Texas common law fraud.              The

claim is based on Defendants' alleged statements made in the course

of Plaintiffs' applying for a loan modification.             Defendants argue

that the claim suffers numerous pleading defects, but the court

need only address one element             detrimental reliance. The elements



              <JI    22.

                                           -9-
  Case 4:22-cv-01781 Document 38 Filed on 10/18/23 in TXSD Page 10 of 11




of a Texas common law fraud claim are:           " (1) that a material
representation was made; (2) the representation was false; (3) when
the representation was made, the speaker knew it was false or made
it recklessly without any knowledge of the truth and as a positive
assertion; (4) the speaker made the representation with the intent
that the other party should act upon it;        (5) the party acted in
reliance on the representation; and (6) the party thereby suffered
injury."      In re FirstMerit Bank, N.A., 52 S.W.3d 749, 758 (Tex.
2001) (emphasis added).
     Plaintiffs have not responded to Defendants' MJP to explain
how their allegations correspond to the fraud elements.          But the
court must evaluate the sufficiency of the Complaint and therefore
must consider whether Plaintiffs' allegations could support a fraud
claim. Read liberally, the Complaint's fraud claim identifies two
possible representations:          Defendants' alleged statement that
Plaintiffs      "had an option of filling out a        loss mitigation
application" and Defendants' invitation, after denying this first
application,     for Plaintiffs to reapply if the          circumstances
changed.23     The Complaint does not allege that the first statement
was false, so it cannot support a fraud claim.       Plaintiffs' theory
regarding the second statement appears to be that Defendants
implied that they would at least consider another application but
had no intention to do so. The court assumes without deciding that
this invitation to reapply adequately alleges a knowingly false

     23
          Id. at 7 <[<[ 14-15, p. 9 <[ 25.
                                    -10-
  Case 4:22-cv-01781 Document 38 Filed on 10/18/23 in TXSD Page 11 of 11




representation and that Plaintiffs adequately allege reliance in
the form of obtaining new employment and reapplying for a loan
modification.   But even if these first five elements could be met,
Plaintiffs have not identified any injury caused by their reliance.
Plaintiffs do not allege that Plaintiffs' second application or
their new employment contributed to Defendants' decision to pursue
foreclosure.     Plaintiffs'   claim for common law fraud is not
adequately pleaded, and it will be dismissed.

                      IV.   Conclusion and Order

     Plaintiffs have failed to state a claim for declaratory
judgment or for common law fraud.     Defendants' Motion for Judgment

on the Pleadings (Docket Entry No. 34) is therefore GRANTED.         This

action will be dismissed with prejudice.
     SIGNED at Houston, Texas, on this 18th day of October, 2023.




                                               SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




                                  -11-
